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           applicable, or a proposed stipulation to that effect.

      3. Whether the parties have made any progress towards settlement, including
         whether they would seek to engage the assistance of a third party neutral or
         Magistrate Judge in further settlement discussions in advance of trial.

      4. Anything else either party would like to bring to the Court’s attention in
         advance of trial.

           IT IS SO ORDERED.




   CV-90 (12/02)                CIVIL MINUTES – GENERAL              Initials of Deputy Clerk CB

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